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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 IN RE:                                         §           Chapter 11
                                                §           Case No. 21-30085-hdh-11
 NATIONAL RIFLE ASSOCIATION                     §           Jointly Administered
 OF AMERICA and SEA GIRT LLC                    §
                                                §           Hearing Date: 4/5/2021
        DEBTORS.                                §           Hearing Time: 10:30 a.m.

  ACKERMAN MCQUEEN, INC.’S THIRD AMENDED WITNESS AND EXHIBIT LIST
   FOR HEARING ON ACKERMAN MCQUEEN, INC.’S MOTION TO DISMISS THE
   CHAPTER 11 BANKRUPTCY PETITION, OR, IN THE ALTERNATIVE, MOTION
            FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

 TO THE HONORABLE HARLIN D. HALE,
 UNITED STATES BANKRUPTCY JUDGE:

        Ackerman McQueen, Inc. (“AMc”) designates the following amended witnesses and

 exhibits for the hearing on its Motion to Dismiss the Chapter 11 Bankruptcy Petition, or, in the

 Alternative, Motion for the Appointment of a Chapter 11 Trustee (the “Hearing”) that commenced

 on April 5, 2021 at 10:30 a.m.:




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                                DESIGNATION OF WITNESSES

        PLEASE BE ADVISED that AMc may, only to the extent necessary and in its sole

 discretion, offer the testimony of the following persons as witnesses at the Hearing. AMc further

 reserves the right to call any additional persons as witnesses at the Hearing, which may be

 designated or called by any other party. AMc, in its sole discretion, additionally reserves the right

 to call any and all additional witnesses as may be necessary for rebuttal and/or impeachment.

    1. Wayne LaPierre;

    2. Corporate Representative(s) of the National Rifle Association of America;

    3. Charles Cotton;

    4. Carolyn Meadows;

    5. Sonya Rowling;

    6. John Frazer;

    7. Craig Spray;

    8. David Warren;

    9. Millie Hallow (by deposition);

    10. William Winkler;

    11. Melanie Montgomery;

    12. Nader Tavangar;

    13. Revan McQueen;

    14. Anthony Makris;

    15. Christopher Cox;

    16. Oliver North (by deposition);

    17. Steve Hart (by deposition);

    18. Hon. Phillip Journey;

    19. Daniel Boren (by deposition);


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    20. Any witness necessary to authenticate the exhibits designated herein;

    21. Any witness necessary to rebut and/or impeach the testimony of a witness called or
        designated by any other party; and

    22. Any witness designated on another party’s witness list.




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                                                    DESIGNATION OF EXHIBITS

          PLEASE BE ADVISED that AMc may, at its sole election, request that the Court take judicial notice of or otherwise offer any

of the below listed documents into evidence at the time of the Hearing. AMc further reserves the right to offer any documents, which

may be designated or offered by any other party. AMc, in its sole discretion, additionally reserves the right to offer any exhibits (whether

designated below) as may be necessary for impeachment or rebuttal. AMc further reserves the right to supplement or amend this exhibit

list at any time.

  Exhibit             Date                           Exhibit Identification                              Entered         Offer    Admit
                                                                                                        Deposition
                                                                                                         Exhibit
     1.         01/15/21      NRA Voluntary Petition for Bankruptcy (Ch. 11)                           AMc EX 1

     2.         11/24/20      Texas Certificate of Formation for Sea Girt (Nov. 2020)

     3.         n/a           Sea Girt BancorpSouth Bank Transactions

     4.         01/31/21      Sea Girt BankcorpSouth January 2021 Bank Statement

     5.         02/22/21      Sea Girt Bank Account Closure Confirmation

     6.         01/13/21      Transfer of Funds from NRA to Sea Girt                                   AMc EX 6

     7.         09/10/20      Special Litigation Committee Email from Frazer

     8.         09/10/20      Resolution Formalizing Special Litigation Committee                      AMc EX 8

     9.         01/07/21      Minutes of the Meeting of the Board of Directors of the NRA



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    10.      10/24/20     NRA Bylaws                                                         AMc EX 11

    11.      01/01/21     Wayne LaPierre Employment Agreement (Executed)                     AMc EX 12

    12.      01/20/21     First Day Motions Hearing Transcript                               AMc EX 13

    13.      02/15/21     Sea Girt Schedules A, B, D-H, with Summary of Assets               AMc EX 16

    14.      02/15/21     Sea Girt Statement of Financial Affairs                            AMc EX 17

    15.      02/15/21     NRA Schedules A, B, D-H, with Summary of Assets                    AMc EX 18

    16.      02/15/21     NRA Statement of Financial Affairs

    17.      02/18/21     NRA Schedules

    18.      03/04/21     NRA Amended Schedules A, B and D-H with Summary of Assets          AMc EX 22

    19.      03/04/21     Sea Girt Amended Schedules E-F with Summary of Assets

    20.      03/04/21     NRA Amended Statement of Financial Affairs                         AMc EX 24

    21.      03/22/19     North correspondence to Brewer

    22.      03/31/19     North correspondence to LaPierre                                   AMc EX 26

    23.      04/08/19     North correspondence to LaPierre

    24.      03/30/20     Affidavit of Revan McQueen

    25.      06/03/20     Affidavit of Revan McQueen




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    26.      06/03/20     Declaration of Dan Boren

    27.      06/03/20     Declaration of Edmund Martin

    28.      06/03/20     Declaration of Melanie Montgomery

    29.      06/03/20     Declaration of Nader Tavangar

    30.      06/03/20     Declaration of Tony Makris

    31.      06/03/20     Declaration of William Winkler

    32.      01/26/16     American Express Corporate Card Statement

    33.      07/15/19     Cummins Memorandum                                                  AMc EX 59

    34.       7/13/18     List of Top Concerns for Audit Committee

    35.      03/22/19     North correspondence to NRA Audit Committee

    36.      04/22/19     LaPierre letter to Mark Dycio                                       AMc EX 70

    37.      06/05/19     NRA Policy Manual                                                   AMc EX 71

    38.      04/18/19     North and Richard Childress (NRA 1st VP) correspondence to John
                          Frazer and Charles Cotton
    39.      04/25/19     Oliver North email to Frazer

    40.      01/15/21     NRA Forward - Leadership Quotes — NRA Dumps New York to             AMc EX 76
                          Reincorporate in Texas
    41.      07/13/18     Rowling Email and Top Audit Concerns                                AMc EX 84




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    42.      01/12/21     Sea Girt Operating Agreement

    43.      12/04/18     2019 Budget - revised

    44.      07/10/18     Steve Hart email to Melanie Montgomery

    45.      01/22/21     Transcript of 341 Meetings of Creditors Sea Girt, LLC

    46.      01/15/21     NRA Forward - Vendor Letter — NRA Dumps New York to
                          Reincorporate in Texas

    47.      01/15/21     NRA Forward - Wayne LaPierre's Letter — NRA Dumps New York
                          to Reincorporate in Texas

    48.      03/05/21     Transcript of 341 Meetings of Creditors Sea Girt, LLC               AMc EX 102

    49.      01/01/20     W. LaPierre Employment Agreement (Unexecuted)

    50.      03/02/21     Notice of March 14 Meeting

    51.      01/15/21     Notice to Board re Bankruptcy                                       AMc EX 107

    52.      04/28/20     Spray Employment Agreement

    53.      01/07/21     Board Meeting Frazer Notes                                          AMc EX 109

    54.      01/15/21     Email from Frazer - Announcement from WLP

    55.      02/08/21     Email from Frazer - Message from President Meadows

    56.      02/13/19     Calendar invite from Susan Dillon copying Frazer and Sarah Rogers




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    57.      03/12/21     341 Meeting of Creditors of Sea Girt                              AMc EX 131

    58.      09/08/18     NRA Audit Committee, September 8-9, 2018

    59.      06/26/19     Hearing Transcript (Virginia)

    60.      09/14/20     Judge Fish Order on Motion to Disqualify Brewer

    61.      06/22/20     Judge Toliver Order on Motion for Protective Order

    62.      04/25/19     LaPierre letter to NRA Board

    63.      04/22/19     LaPierre letter to Steve Hart

    64.      04/22/19     Hart email to NRA executives/board member

    65.      03/02/20     Article "The NRA Exodus: Who Left the Organization During a
                          Year of Upheaval"

    66.      03/18/21     Notice of Second Amendment to NRA SOFA

    67.      07/30/18     Personal Statement of Sonya Rowling                               AMc EX 147

    68.      01/15/21     Email from Duane Liptak to Frazer                                 AMc EX 148

    69.      08/09/18     Email from David Coy to Steve Hart, Charles Cotton                AMc EX 149

    70.      10/06/16     NRA 2017 Budget Planning by Ackerman                              AMc EX 152

    71.      04/22/19     Winkler Letter to Spray re: Stanford Expenses

    72.      04/22/19     Winkler Letter to Schropp re: Expenses



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    73.      03/07/19     Email from Montgomery to Spray RE Updated Billing Schedule

    74.      10/05/18     Winkler Letter to Spray RE Budget Adjustments

    75.      10/02/18     Winkler Letter to Powell RE AM budget

    76.      10/20/20     National Rifle Association’s Motion to Transfer Cases for
                          Coordinated or Consolidated Pre-Trial Proceedings (MDL)

    77.      01/18/21     Newsmax (Article & Video) - Charles Cotton to Newsmax TV:
                          NRA Bigger, Better in Texas

    78.      10/01/19     AMc Original Answer, Counterclaim and Third-Party Complaint          AMc EX 166
                          (N.D. Tex)

    79.      01/14/21     Payment Authorization from LaPierre for Brewer Firm Invoices         AMc EX 167

    80.      01/13/21     Kent Correll Invoice                                                 AMc EX 168

    81.      04/29/19     Meeting Minutes of Audit Committee

    82.      12/14/18     Lockton Settlement Agreement

    83.      01/14/21     Brewer Invoice

    84.      01/15/21     NRA Forward - Press Release — NRA Dumps New York to
                          Reincorporate in Texas
    85.      03/09/21     Article "NRA Board to Hold Emergency Hearing Amid Bankruptcy
                          Turmoil"
    86.      05/06/19     Advocacy as Art- Lawyers Must Engage in...s and Crisis
                          Management Texas Lawyer
    87.      03/16/21     Creditor Committee Response to Motions to Dismiss



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    88.      04/12/19     Original Complaint in VA (First Lawsuit) - NRA Sues Ackerman
                          and Mercury Group for Breach of Contract (Virginia Cause
                          CL19001757)
    89.      05/03/20     Declaration of Wayne LaPierre

    90.      02/01/21     Judge Fish Order Staying Claims

    91.      10/02/19     Deposition of Arulanandam, Andrew (Virginia) (for reference)

    92.      11/03/20     Deposition of Boren, David Daniel Virginia) (for reference)

    93.      02/07/20     Deposition of Cotton, Charles (Virginia) (for reference)

    94.      03/27/21     Deposition of Cotton, Charles [Vol 1] (Bankruptcy) (for reference)

    95.      03/28/21     Deposition of Cotton, Charles [Vol 2] (Bankruptcy) (for reference)

    96.      02/12/20     Deposition of Erstling, Michael (NY AG) (for reference)

    97.      01/16/20     Deposition of Frazer, John (Virginia) (for reference)

    98.      03/15/21     Deposition of Frazer, John [Vol 1] (Bankruptcy) (for reference)

    99.      03/18/21     Deposition of Frazer, John [Vol 2] (Bankruptcy) (for reference)

    100.     01/10/20     Deposition of Hallow, Mildred (Virginia) (for reference)

    101.     02/04/20     Deposition of Hart, Steven (Virginia) (for reference)

    102.     03/18/21     Deposition of Journey, Phillip (Bankruptcy) (for reference)

    103.     09/24/19     Deposition of LaPierre, Wayne dated (Virginia) (for reference)



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    104.     06/17/20     Deposition of LaPierre, Wayne (NY AG) (for reference)

    105.     03/22/21     Deposition of LaPierre, Wayne [Vol 1] (Bankruptcy) (for reference)

    106.     03/23/21     Deposition of LaPierre, Wayne [Vol 2] (Bankruptcy) (for reference)

    107.     03/24/21     Deposition of Makris, Anthony (Bankruptcy) (for reference)

    108.     01/29/20     Deposition of Meadows, Carolyn (Virginia) (for reference)

    109.     12/18/19     Deposition of Oliver North (Virginia/Texas) (for reference)

    110.     03/19/21     Deposition of Phillips, Wilson (Bankruptcy) (for reference)

    111.     03/19/21     Deposition of Rowling, Sonya (Bankruptcy) (for reference)

    112.     10/03/19     Deposition of Spray, Craig (Virginia) (for reference)

    113.     06/12/20     Deposition of Spray, Craig (NY AG) (for reference)

    114.     03/24/21     Deposition of Spray, Craig (Bankruptcy) (for reference)

    115.     03/25/21     Deposition of Stanford, Gayle (Bankruptcy) (for reference)

    116.     01/30/20     Deposition of Supernaugh, Lisa (Virginia) (for reference)

    117.     03/06/20     Deposition of Supernaugh, Lisa (NY AG) (for reference)

    118.                  (intentionally omitted)

    119.     03/26/21     Deposition of Winkler, William [Corporate Representative]
                          (Bankruptcy) (for reference)



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    120.     03/26/21     Deposition of Winkler, William (Bankruptcy) (for reference)

    121.     02/04/21     Order Denying Transfer (MDL)

    122.     02/22/21     Sea Girt January MOR

    123.     02/22/21     NRA January MOR

    124.     03/22/21     Sea Girt February MOR

    125.     03/22/21     NRA February MOR

    126.     12/31/19     Aronson Audit Report

    127.     01/29/21     Brewer Retention Application [Dkt. No. 84]

    128.     06/12/19     Sullivan Letter to John Frazer RE Lt. Col. Oliver North

    129.     05/15/18     Contract Employment Agreement North and Ackerman McQueen

    130.     07/10/18     Hart E-mail to Montgomery

    131.     09/08/18     NRA Report of Audit Committee Arlington

    132.     09/15/18     Makris E-mail to Hart

    133.     09/26/18     Hart E-mail to Makris

    134.     10/11/18     Hart E-mail to Makris Summary of Summit

    135.     10/24/18     Hart E-mail to Makris




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    136.     04/30/17     Service Agreement (unsigned)

    137.     03/30/17     Hart E-mail to Winkler

    138.     12/21/18     December letter from Sarah Rogers

    139.     01/04/19     J. Madrid Letter to Hart

    140.     01/10/19     S. Ryan Letter to Hart

    141.     01/17/19     E-mail chain, Hart, Frazer, and Ryan

    142.     02/07/19     Makris E-mail to Hart

    143.     02/22/19     Hart's list of concerns for Audit Committee

    144.     02/22/19     Hart E-mail to Makris

    145.     03/12/19     Hart E-mail to Makris, forwarding Frazer e-mail

    146.     03/15/19     Hart E-mail to Makris

    147.     04/12/19     Original Complaint (VA 1757)

    148.     04/14/19     Hart E-mail to Makris

    149.     04/22/19     Hart E-mail to board members

    150.     04/22/19     Hart E-mail to Makris, S. LaPierre

    151.     04/26/19     Fischer E-mail to Hallow, Contact from B. Woodruff




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    152.     05/13/20     NRA Corporate Structure

    153.                  Summary of NRA’s Schedule F

    154.     04/22/19     Winkler letter to Wayne LaPierre RE Clothing purchases

    155.     04/22/19     Winkler letter to Wayne LaPierre RE Documentation of Exenses

    156.     08/20/19     NRA Responses to Ackerman First ROGGS (Virginia)

    157.     04/07/19     Email to Spray RE Brewer Payments Update

    158.     03/11/19     Brewer Payments spreadsheet

    159.     06/00/19     Brewer Payments spreadsheet

    160.     05/30/19     Email from Boren to Lance

    161.     04/25/19     Email from Boren to Governor Anoatubby

    162.     04/24/19     Text Message from Boren to Millie Hallow

    163.     04/29/19     Millie Hallow typed notes

    164.     11/01/19     Boren resignation letter

    165.     04/02/21     State of Texas Amicus Brief

    166.     06/07/99     Article: Gun Industry Seeks to Shut a Trade Group

    167.     03/15/94     Article: NRA Withdraws as Governing Body of US Shooting Team




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    168.     04/01/97     Article: The Future for NRA

    169.     08/14/19     Article: Wayne LaPierre Promised Job Security

    170.     04/20/97     Article: Williams Elected to NRA Board

    171.     01/18/21     Former Georgia Congressman Bob Barr on Newsmax // January 18,
                          2021
    172.     03/21/19     Morgan Stanley Memorandum

    173.     07/15/20     Brewer Presentation
                          (https://www.documentcloud.org/documents/20523018-nra-
                          domicile-slides-002)

    174.     06/12/20     Original Complaint (NRA v. North)

    175.     07/22/20     LtCol Oliver North Answer (NRA v. North)

    176.     04/24/19     Email from Millie Hallow to Oliver North

    177.     04/23/18     Fax from Noram Partners to Millie Hallow

    178.     03/12/21     NRA Second Amended Complaint (NDTX)

    179.     03/02/21     Notice of Deposition of NRA Corporate Representative




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        AMc also reserves the right to rely upon and use as evidence: (i) exhibits included on the

 exhibit list of any other parties in interest, and (ii) any pleading, hearing transcript, or other

 document filed with the Court in the above-captioned cases.


 Date: April 6, 2021                                 Respectfully submitted,

                                                     DORSEY & WHITNEY LLP

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                                                     ATTORNEYS FOR ACKERMAN MCQUEEN,
                                                     INC.




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document
 has been served on all parties receiving notice by and through the Court’s CM/ECF system on
 April 6, 2021.

                                              /s/ G. Michael Gruber
                                              G. MICHAEL GRUBER




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